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                                                                      Tuesday, 25 June, 2019 04:47:39 PM
                                                                            Clerk, U.S. District Court, ILCD


                              UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF ILLINOIS
                                    URBANA DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
            Plaintiff,                        )
                                              )
vs.                                           )       Crim. No. 17-20037
                                              )
BRENDT A. CHRISTENSEN,                        )
                                              )       Filed Under Seal

            Defendant.                        )

                DEFENDANT’S PROPOSED LIST OF MITGIATING FACTORS

            NOW COMES the Defendant, BRENDT A. CHRISTENSEN, by and through his

attorneys, and for his Proposed List of Mitigating Factors states as follows:

      1.       Brendt has no prior criminal record, no prior arrests, and no prior
               incarcerations.
      2.       Brendt’s mother struggled with severe suicidal depression and anxiety when
               he was growing up.
      3.       Brendt’s mother became a chronic alcoholic during his childhood and
               required both inpatient and outpatient treatment for her alcoholism.
      4.       There is an extensive history of mental illness on Brendt’s mother’s side of the
               family.
      5.       There is an extensive history of mental illness on Brendt’s father’s side of the
               family.
      6.       Brendt has demonstrated the capacity to be a loving and caring person.
      7.       Brendt was a gentle child and displayed no aggressive or violent behavior
               towards others while growing up.
      8.       Brendt provided emotional support to his sister, Andrea, while she was
               growing up.
      9.       Brendt’s mother, Ellen, loves him and cares about him and is willing to
               support him during a sentence of life without release.
      10.      If Brendt is executed, his mother will suffer grief and loss.
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11.     Brendt’s father, Michael, loves him and cares about him and is willing to
        support him during a sentence of life without release.
12.     If Brendt is executed, his father will suffer grief and loss.
13.     Brendt’s sister, Andrea, loves him and cares about him and is willing to
        support him during a sentence of life without release.
14.     If Brendt is executed, his sister will suffer grief and loss.
15.     Brendt has a long history of brain injury and dysfunction, including sleep
        disorders (including parasomnia, sleep terrors, and sleep paralysis),
        concussions, and chronic migraines.
16.     Brendt suffered from symptoms of depression throughout his life.
17.     Brendt suffered from symptoms of anxiety throughout his life.
18.     Brendt was first medicated for depression and anxiety as a teenager.
19.     Brendt struggled with addiction to alcohol beginning in college.
20.     Brendt struggled with addiction to prescription drugs, including Vicodin and
        Ambien, beginning in college.
21.     Michelle and Brendt did not socialize with anyone else during their time
        together (2009-2017), and Michelle was Brendt’s best and only friend.
22.     Brendt sought medical treatment, and ultimately prescription medication, for
        his psychiatric issues at the University of Illinois in January of 2016.
23.     Brendt accepted the advice of his wife and advisor in seeking psychiatric
        treatment in January of 2016.
24.     Brendt continued to suffer from depression, anxiety and sleep problems
        despite medical treatment from January 2016 through June of 2017.
25.     Brendt sought professional counseling for his alcohol and drug abuse in
        March of 2017 at the University of Illinois Counseling Center.
26.     During two separate meetings with the UICC Staff in March of 2017, he
        repeated to the counselors that he was having thoughts of suicide and
        homicide.
27.     Brendt confessed to the counselors at the UICC that he had a plan for how to
        commit a murder, that he had purchased items to facilitate his plan to commit
        a murder, that he knew his thoughts were wrong and disturbing to others,
        and that he did not want to be that kind of person.
28.     Brendt sought professional psychological counseling for his alcohol and drug
        abuse in March of 2017 at the University of Illinois Counseling Center, where
        he told the counselor that he could not see a path forward without his wife.
29.     There is an extensive history of alcoholism and/or substance abuse on both
        sides of Brendt’s family which is a factor suggesting his own predisposition to
        alcoholism and/or substance abuse.

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30.     Brendt abused alcohol and prescription drugs in an attempt to self-medicate
        and control his psychological problems.
31.     The breakdown of Brendt’s marriage caused him severe emotional stress.
32.     In order to save his marriage, Brendt agreed to Michelle’s proposal that they
        both be free to date and have sex with other people.
33.     Brendt was particularly distressed the weekend of June 9, 2017, because his
        wife Michelle, went on a weekend trip with another man to the place where
        they spent their honeymoon.
34.     After Brendt sought help for his substance abuse and intrusive suicidal and
        homicidal thoughts in March of 2017, the University Counseling Center failed
        to provide appropriate services to Brendt, including failing to refer and
        coordinate with mental health professionals at the University Health Center.
35.     After Brendt sought help for his substance abuse and intrusive suicidal and
        homicidal thoughts in March of 2017, the University Counseling Center failed
        to obtain medical records and develop an adequate treatment and safety plan
        to address the homicidal and suicidal ideations he expressed.
36.     After Brendt sought help for his substance abuse and intrusive suicidal and
        homicidal thoughts in March of 2017, the University Counseling Center failed
        to conduct an adequate follow-up with Brendt.
37.     After Brendt sought help for his substance abuse and intrusive suicidal and
        homicidal thoughts in March of 2017, the University Counseling Center failed
        to adequately assess and evaluate the specifics of the homicidal and suicidal
        ideations he expressed.
38.     In December of 2017, Brendt offered to plead guilty to the kidnapping of
        Yingying Zhang, resulting in her death, to fully cooperate with law
        enforcement and assist them in their search for Ms. Zhang’s remains, to waive
        all appeals, and accept a sentence of life imprisonment without release.
39.     While incarcerated following his arrest on June 30, 2017, Brendt has had no
        disciplinary reports or violations.
40.     During two years of pretrial incarceration, Brendt has never possessed a
        weapon.
41.     Brendt has never threatened jail staff while incarcerated in jail.
42.     Brendt has never threatened any other prisoners while incarcerated at the jail.
43.     Brendt has never attempted to engage in criminal activity with outside
        persons while at the jail.
44.     Brendt has been respectful to all male correctional officers when incarcerated
        at the jail.


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   45.     Brendt has been respectful to all female correctional officers when
           incarcerated at the jail.
   46.     Brendt has been respectful to all of his fellow inmates and did not cause
           disturbances within the jail.
   47.     Brendt has adapted very well to being incarcerated.
   48.     Federal law mandates that if Brendt is not sentenced to death, he will spend
           the rest of his life in a United States prison, with no possibility of parole or
           release.
   49.     Brendt is unlikely to commit a serious act of violence while serving a sentence
           of life without possibility of release
   50.     Brendt behaved respectfully during the trial in this cause.
   51.     The penalty of life without the possibility of release is a severe sentence.
   52.     Under all the facts and circumstances, mercy is appropriate for Brendt.
   53.     All lives are valuable, including Brendt Christensen’s life.
   54.     Executing Brendt will not undo the harm and suffering he has caused Ms.
           Zhang’s family and loved ones.

   It should be noted that this list is proposed based on what Mr. Christensen currently

anticipates the testimony to be at the sentencing phase of trial. He reserves the right to

amend the list, in the form of addition or subtraction, depending on the evidence

presented at the next phase.

              Respectfully submitted,

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                              CERTIFICATE OF SERVICE

      I hereby certify that on June 25, 2019, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing

to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller and Trial

Attorney James B. Nelson. A copy was also mailed to the defendant.

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